          Case 1:20-cv-00933-PEC Document 8 Filed 08/21/20 Page 1 of 5




          In the United States Court of Federal Claims
                                        No. 20-933C

                                  (E-Filed: August 21, 2020)

                                  NOT FOR PUBLICATION

                                                  )
ANTHONY-LEWIS JERDINE,                            )
                                                  )     Pro Se Complaint; Tort Claim;
                     Plaintiff,                   )     Due Process; Eighth
                                                  )     Amendment; Sua Sponte
v.                                                )     Dismissal for Lack of
                                                  )     Jurisdiction; RCFC 12(h)(3).
THE UNITED STATES,                                )
                                                  )
                     Defendant.                   )
                                                  )

                                           ORDER

       The court has before it pro se plaintiff Anthony-Lewis Jerdine’s complaint, ECF
No. 1, and his motion to proceed in forma pauperis in this matter, ECF No. 2. Because
the court lacks jurisdiction over the claims, the court dismisses this case sua sponte
pursuant to Rule 12(h)(3) of the Rules of the United States Court of Federal Claims
(RCFC). See RCFC 12(h)(3) (“If the court determines at any time that it lacks subject-
matter jurisdiction, the court must dismiss the action.”).

I.     Background

       Plaintiff Anthony-Lewis Jerdine is currently incarcerated at the Tallahatchie
County Correctional Facility, also referred to by plaintiff as CoreCivic, in Mississippi.
See ECF No. 1 at 6. On July 27, 2020, plaintiff filed a “tort claim” complaint with this
court. See ECF No. 1 at 9. In the complaint, plaintiff alleges a variety of claims
including “breach of contract by the United States,” for the United States Marshals
Service’s “inadequate response to the COVID-19 pandemic.” Id. at 2, 4. Plaintiff claims
that he has suffered “cruel and unusual punishment, false imprisonment, denial and/or
abuse of due process, [and] reckless endangerment.” Id. at 2.

       Plaintiff states that “[t]his claim is prima facie evidence of injurious actions by
willful and gross negligence” on the part of the United States Marshals Service. Id.
            Case 1:20-cv-00933-PEC Document 8 Filed 08/21/20 Page 2 of 5




Specifically, plaintiff claims that “[t]he US Marshals have failed to act with reasonable
care to mitigate the risks posed by COVID-19 [and] are liable by Tort.” Id. at 7. Plaintiff
asserts violations of his rights to due process and other constitutional guarantees as a
result of his current incarceration. Id. at 2. Plaintiff also alleges that his claims “are
brought pursuant to the [Americans with Disability Act], 28 U.S.C. § 12132 et seq., and
the [Rehabilitation Act], 29 U.S.C. § 794, et seq.,” along with “42 U.S.C. § 1983 which
authorizes actions to redress deprivation.” Id. at 5. Plaintiff is seeking an “[a]ward claim
(TORT) of $38,348,059.50[,] plus punitive damages.” Id. at 3.

       Plaintiff attached several documents to his complaint including: (1) an
“Inmate/Resident Grievance” form; (2) a “Claim for Damage, Injury, or Death” form; (3)
a “Certification of Identity;” (4) a copy of his “Passport Card;” (5) an “Affidavit of
Identity;” (6) a “Public Servant Questionnaire;” (7) a “Legal Notice and Demand,” also
referred to as a “Contract in Admiralty Jurisdiction,” which is signed only by plaintiff, a
notary, and two witnesses but no counterparty; (8) a “UCC Financing Statement;” and (9)
a “Private Registered Bond for Investment.” See ECF No. 1-2.

II.    Legal Standards

       A.      Pro Se Litigants

       The court acknowledges that pro se plaintiffs are not expected to frame issues with
the precision of a common law pleading. Roche v. U.S. Postal Serv., 828 F.2d 1555,
1558 (Fed. Cir. 1987). Therefore, plaintiff’s complaint has been reviewed carefully to
ascertain whether, given the most favorable reading, it supports jurisdiction in this court.

       B.      Jurisdiction

        “A court may and should raise the question of its jurisdiction sua sponte at any
time it appears in doubt.” Arctic Corner, Inc. v. United States, 845 F.2d 999, 1000 (Fed.
Cir. 1988) (citation omitted). The Tucker Act delineates this court’s jurisdiction. 28
U.S.C. § 1491 (2012). That statute “confers jurisdiction upon the Court of Federal
Claims over the specified categories of actions brought against the United States.” Fisher
v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (en banc) (citations omitted).
These include money damages claims against the federal government founded upon the
Constitution, an act of Congress, a regulation promulgated by an executive department,
any express or implied contract with the United States, or any claim for liquidated or
unliquidated damages in cases not sounding in tort. Id. (citing 28 U.S.C. § 1491(a)(1)).




                                             2
            Case 1:20-cv-00933-PEC Document 8 Filed 08/21/20 Page 3 of 5




III.   Analysis

       A.      Motion for Leave to Proceed In Forma Pauperis

        As an initial matter, plaintiff has filed a motion for leave to file in forma pauperis.
See ECF No. 2. Along with his application to proceed in forma pauperis, plaintiff filed
the required Prisoner Authorization form. See ECF No. 3. Plaintiff failed, however, to
file his trust fund account statement, which is required in order for the court to determine
whether granting in forma pauperis status is appropriate. See ECF No. 2 at 1 (application
form stating that the trust fund account statement is “required by 28 U.S.C. §
1915(a)(2)”). Because his application is incomplete, plaintiff’s motion for leave to
proceed in forma pauperis, ECF No. 2, is denied.

       B.      Lack of Subject Matter Jurisdiction

       Plaintiff’s complaint relies on a variety of legal authorities, which, in plaintiff’s
view, entitle him to a monetary remedy for his claims of violation of due process and
other constitutional guarantees, which are related to his incarceration in state prison
during the COVID-19 pandemic. See ECF No. 1 at 2-8. This court does not possess
jurisdiction over such claims. As this court has previously explained:

       Although the Tucker Act confers jurisdiction to this Court over
       Constitutional claims, any allegedly violated provision must itself be money-
       mandating. [Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005)];
       See 28 U.S.C. § 1491(a). Constitutional claims other than a Fifth
       Amendment taking claim “do not state a cause of action for monetary relief
       against the United States” in the Court of Federal Claims. Frank’s Livestock
       & Poultry Farm, Inc. v. United States, 17 Cl. Ct. 601, 607 (1989), aff’d, 905
       F.2d 1515 (Fed. Cir. 1990).

Carpenter v. United States, 118 Fed. Cl. 712, 713 (2014), aff’d (Feb. 6, 2015). Here,
plaintiff does not allege a Fifth Amendment taking claim; thus, the court lacks
jurisdiction over his claims based on alleged constitutional violations. And to the extent
that plaintiff means to allege claims for violations of his constitutional rights against
individuals employed by the United States Marshals Service, jurisdiction is likewise
lacking in this forum. It is well-settled that claims related to violations of a plaintiff’s
constitutional rights by individual federal officials do not fall within this court’s
jurisdiction. See Brown v. United States, 105 F.3d 621, 624 (Fed. Cir. 1997).

      This court is also without jurisdiction to consider claims sounding in tort. See 28
U.S.C. § 1491(a)(1) (limiting this court’s jurisdiction to “cases not sounding in tort”).
Therefore, to the extent that plaintiff means to allege tortious conduct on defendant’s part


                                               3
            Case 1:20-cv-00933-PEC Document 8 Filed 08/21/20 Page 4 of 5




beyond the scope of the alleged constitutional violations, the court must also dismiss
those claims for lack of jurisdiction.

       Likewise, this court is without jurisdiction to consider plaintiff’s statutory claims.
Jurisdiction for claims pursuant to the Americans with Disabilities Act, the Rehabilitation
Act, and 42 U.S.C. § 1983 (2012) lies exclusively with the district courts. See Searles v.
United States, 88 Fed. Cl. 801, 805 (2009) (collecting cases relating to the Americans
with Disabilities Act and the Rehabilitation Act); Montoya v. United States, 22 Cl. Ct.
568, 571 (1991) (“[T]his court has no jurisdiction arising under 42 U.S.C. § 1983,
because jurisdiction to adjudicate claims under this statute is limited to the district
courts.”).

        Finally, the court notes that while plaintiff, at one point in the complaint,
characterizes his claim as one for “breach of contract,” see ECF No. 1 at 2, the only
substantive claims the court can discern are either constitutional violations, tort claims, or
statutory claims. See, e.g., Katz v. Cisneros, 16 F.3d 1204, 1207 (Fed. Cir. 1994)
(“Regardless of the characterization of the case ascribed by [the plaintiff] in [his]
complaint, we look to the true nature of the action in determining the existence or not of
jurisdiction.”) (citing Livingston v. Derwinski, 959 F.2d 224, 225 (Fed. Cir. 1992)). This
is true despite the fact that plaintiff attaches a document to the complaint that purports to
be a contract. See ECF No. 1-2 at 8 (document titled “Legal Notice and Demand” and
also referred to as a “Contract in Admiralty Jurisdiction”). The document that plaintiff
declares to be a “Contract in Admiralty Jurisdiction” is not cited in the complaint, does
not appear to bear any relation to the allegations in the complaint, and is signed only by
plaintiff, a notary, and two witnesses, but no counterparty. See id. at 8-24. As such, the
court concludes that no part of plaintiff’s complaint can fairly be construed as a contract
claim for purposes of determining the court’s jurisdiction.

      For the foregoing reasons, the court lacks jurisdiction over plaintiff’s complaint,
and must dismiss the same. See RCFC 12(h)(3).

       C.      Transfer

       Because plaintiff’s complaint is not within this court’s jurisdiction, the court
considers whether transfer to another federal court is appropriate. Transfer of cases from
this court to a district court is governed by 28 U.S.C. § 1631 (2012), which states in
relevant part, as follows:

       Whenever a civil action is filed in [this] court . . . and [this] court finds that
       there is a want of jurisdiction, the court shall, if it is in the interest of justice,
       transfer such action or appeal to any other such court . . . in which the action
       or appeal could have been brought at the time it was filed or noticed, and the
       action or appeal shall proceed as if it had been filed in or noticed for the court

                                                 4
          Case 1:20-cv-00933-PEC Document 8 Filed 08/21/20 Page 5 of 5




       to which it is transferred on the date upon which it was actually filed in or
       noticed for the court from which it is transferred.

Id. In the court’s view, transfer would not serve the interests of justice in this case for
two reasons. First, the claims in plaintiff’s complaint, together with the documents
attached thereto, address such a wide range of subjects that the court cannot determine
with any confidence what the appropriate venue for plaintiff’s concerns would be. The
court will not devise a litigation strategy for plaintiff. In addition, it appears that plaintiff
has sought an alternative forum of his own accord in at least one instance—he filed a
similar matter before the United States District Court for the Northern District of
Mississippi on August 3, 2020. See Anthony-Lewis Jerdine v. Warden Rafael Vergara,
Case No. 3:20-cv-277-MPM-DAS (habeas corpus claim). As such, transfer is
inappropriate in this instance.

IV.    Conclusion

       Accordingly,

       (1)     Plaintiff’s application to proceed in forma pauperis, ECF No. 2, is
               DENIED; and

       (2)     The clerk’s office is directed to DISMISS plaintiff’s complaint without
               prejudice, and ENTER final judgment.

       IT IS SO ORDERED.

                                                    s/Patricia E. Campbell-Smith
                                                    PATRICIA E. CAMPBELL-SMITH
                                                    Judge




                                                5
